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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                         Plaintiff

v.                                  Case No.: 4:18−cr−00172−JM

Andrew Scherell                                                                Defendant
(Other Custody)




                                NOTICE OF HEARING


     PLEASE take notice that a Change of Plea Hearing has been set in this case for
March 5, 2019, at 01:30 PM before Judge James M. Moody Jr. in Little Rock Courtroom #
4A in the Richard Sheppard Arnold United States Courthouse located at 600 West Capitol
Avenue, Little Rock, Arkansas.
      A writ must be prepared and submitted to the United States Marshal in order to
transport defendant to the proceeding.


DATE: February 8, 2019                           AT THE DIRECTION OF THE COURT
                                                    JAMES W. McCORMACK, CLERK


                                                      By: Kacie O. Glenn, Deputy Clerk




Electronic copy provided to:
U.S. Marshals Service, Eastern District of Arkansas
U.S. Probation Office, Eastern District of Arkansas
Court Security Office, Eastern District of Arkansas
